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                 Schering/Warrick EPIC Stipulation
                            Exhibit A
                                              EPIC Start   EPIC End
      NDC                     Drug              Date         Date
 00085001204   TRILAFON 5MG/ML AMPUL            4/1/1991
 00085004106   VANCENASE 42MCG INHALER          4/1/1991
 00085007003   ESTINYL 0.05MG TABLET            4/1/1991
 00085018204   LOTRIMIN 1% SOLUTION             4/1/1991
 00085020802   PROVENTIL 5MG/ML SOLUTION        4/1/1991
 00085020901   PROVENTIL .83MG/ML SOLUTION      4/1/1991
 00085026301   K-DUR 10MEQ TABLET SA            4/1/1991
 00085026381   K-DUR 10MEQ TABLET SA            4/1/1991
 00085028502   INTRON A 25MMU VIAL              4/1/1991
 00085029605   PERMITIL 5MG/ML ORAL CONC.       4/1/1991
 00085036302   TRILAFON 16MG/5ML ORAL CONC      4/1/1991
 00085037001   ELOCON 0.1% OINTMENT             4/1/1991
 00085037002   ELOCON 0.1% OINTMENT             4/1/1991
 00085043103   PROVENTIL 4MG REPETABS           4/1/1991
 00085043104   PROVENTIL 4MG REPETABS           4/1/1991
 00085045803   CLARITIN 10MG TABLET             4/1/1991
 00085045805   CLARITIN 10MG TABLET             4/1/1991
 00085045806   CLARITIN 10MG TABLET             4/1/1991
 00085051701   DIPROLENE AF 0.05% CREAM         4/1/1991
 00085051704   DIPROLENE AF 0.05% CREAM         4/1/1991
 00085052503   EULEXIN 125MG CAPSULE            4/1/1991
 00085052505   EULEXIN 125MG CAPSULE            4/1/1991
 00085052506   EULEXIN 125MG CAPSULE            4/1/1991
 00085053901   INTRON A 50MMU VIAL              4/1/1991
 00085056605   CELESTONE SOLUSPAN 6MG/ML        4/1/1991
 00085056701   ELOCON 0.1% CREAM                4/1/1991
 00085056702   ELOCON 0.1% CREAM                4/1/1991
 00085057102   INTRON A 10MMU VIAL              4/1/1991
 00085057502   DIPROLENE 0.05% OINTMENT         4/1/1991
 00085057505   DIPROLENE 0.05% OINTMENT         4/1/1991
 00085058401   THEO-DUR 300MG TABLET SA         4/1/1991
 00085061202   CLARITIN 10MG/10ML SYRUP         4/1/1991
 00085061302   LOTRIMIN 1% CREAM                4/1/1991
 00085061402   PROVENTIL 90MCG INHALER          4/1/1991
 00085063401   DIPROLENE 0.05% GEL              4/1/1991
 00085063403   DIPROLENE 0.05% GEL              4/1/1991
 00085063501   CLARITIN-D 12 HOUR TAB SA        4/1/1991
 00085063504   CLARITIN-D 12 HOUR TAB SA        4/1/1991
 00085063505   CLARITIN-D 12 HOUR TAB SA        4/1/1991
 00085064705   INTRON A 3MMU VIAL               4/1/1991
 00085067004   GYNE-LOTRIMIN INSERT             4/1/1991
 00085073604   VANCERIL INHALER                 4/1/1991
 00085075204   NORMODYNE 200MG TABLET           4/1/1991
 00085078701   K-DUR 20MEQ TABLET SA            4/1/1991
 00085078706   K-DUR 20MEQ TABLET SA            4/1/1991
 00085078710   K-DUR 20 MEQ TABLET SA           4/1/1991
 00085078781   K-DUR 20MEQ TABLET SA            4/1/1991
 00085080901   LOTRISONE LOTION                 4/1/1991
 00085081930   NITRO-DUR 0.8MG/HR PATCH         4/1/1991
 00085081935   NITRO-DUR 0.8MG/HR PATCH         4/1/1991
 00085085401   ELOCON 0.1% LOTION               4/1/1991



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                 Schering/Warrick EPIC Stipulation
                            Exhibit A
                                              EPIC Start   EPIC End
      NDC                     Drug              Date         Date
 00085085402   ELOCON 0.1% LOTION               4/1/1991
 00085088711   GYNE-LOTRIMIN 1% CREAM           4/1/1991
 00085092401   LOTRISONE CREAM                  4/1/1991
 00085092402   LOTRISONE CREAM                  4/1/1991
 00085096201   DIPROLENE 0.05% LOTION           4/1/1991
 00085096202   DIPROLENE 0.05% LOTION           4/1/1991
 00085104901   VANCENASE AQ 84MCG SPRAY         4/1/1991
 00085111001   INTRON A 18MMU VIAL              4/1/1991
 00085112802   CLARITIN 10MG REDI-TABS          4/1/1991
 00085113201   PROVENTIL HFA 90MCG INHALER      4/1/1991
 00085113301   INTRON A 10MMU/ML VIAL           4/1/1991
 00085115303   IMDUR 120MG TABLET SA            4/1/1991
 00085116801   INTRON A 6MMU/ML VIAL            4/1/1991
 00085117902   INTRON A 10MMU/ML KIT            4/1/1991
 00085119102   INTRON A 5MMU/0.5ML KIT          4/1/1991
 00085119701   NASONEX 50MCG NASAL SPRAY        4/1/1991
 00085122301   CLARITIN 10MG/10ML SYRUP         4/1/1991
 00085123301   CLARITIN-D 24 HOUR TAB SA        4/1/1991
 00085123501   INTRON A 5MMU INJECTION PEN      4/1/1991
 00085123601   REBETRON 1200 THERAPY PAK        4/1/1991
 00085123602   REBETRON 1000 THERAPY PAK        4/1/1991
 00085124101   REBETRON 1200 THERAPY PAK        4/1/1991
 00085124103   REBETRON 600 THERAPY PAK         4/1/1991
 00085124201   INTRON A 3MMU INJECTION PEN      4/1/1991
 00085124401   TEMODAR 20MG CAPSULE             4/1/1991
 00085124402   TEMODAR 20MG CAPSULE             4/1/1991
 00085124801   TEMODAR 5MG CAPSULE              4/1/1991
 00085124802   TEMODAR 5MG CAPSULE              4/1/1991
 00085125201   TEMODAR 250MG CAPSULE            4/1/1991
 00085125202   TEMODAR 250MG CAPSULE            4/1/1991
 00085125401   INTRON A 10MMU INJ PEN           4/1/1991
 00085125801   REBETRON 1200 THERAPY PAK        4/1/1991
 00085125901   TEMODAR 100 MG CAPSULE           4/1/1991
 00085125902   TEMODAR 100MG CAPSULE            4/1/1991
 00085127901   PEG-INTRON 150MCG KIT            4/1/1991
 00085129101   PEG-INTRON 80MCG KIT             4/1/1991
 00085129701   PEG-INTRON REDIPEN 120 MCG       4/1/1991
 00085130401   PEG-INTRON 120MCG KIT            4/1/1991
 00085131601   PEG-INTRON REDIPEN 80 MCG        4/1/1991
 00085132301   PEG-INTRON REDIPEN 50 MCG        4/1/1991
 00085136801   PEG-INTRON 50MCG KIT             4/1/1991
 00085137001   PEG-INTRON REDIPEN 150 MCG       4/1/1991
 00085330530   NITRO-DUR 0.1MG/HR PATCH         4/1/1991
 00085330535   NITRO-DUR 0.1MG/HR PATCH         4/1/1991
 00085330603   IMDUR 30MG TABLET SA             4/1/1991
 00085331030   NITRO-DUR 0.2MG/HR PATCH         4/1/1991
 00085331035   NITRO-DUR 0.2MG/HR PATCH         4/1/1991
 00085331530   NITRO-DUR 0.3MG/HR PATCH         4/1/1991
 00085331535   NITRO-DUR 0.3MG/HR PATCH         4/1/1991
 00085332030   NITRO-DUR 0.4MG/HR PATCH         4/1/1991
 00085332035   NITRO-DUR 0.4MG/HR PATCH         4/1/1991



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                 Schering/Warrick EPIC Stipulation
                            Exhibit A
                                               EPIC Start   EPIC End
      NDC                    Drug                 Date        Date
 00085333030   NITRO-DUR 0.6MG/HR PATCH          4/1/1991
 00085333035   NITRO-DUR 0.6MG/HR PATCH          4/1/1991
 59930150006   ALBUTEROL .83MG/ML SOLUTION      9/13/1993    3/31/2007
 59930150008   ALBUTEROL .83MG/ML SOLUTION      9/13/1993    3/31/2007
 59930150201   ISOSORBIDE MN 30MG TAB SA        9/13/1993    3/31/2007
 59930150301   CLOTRIMAZOLE/BETAMETH CREAM      9/13/1993    3/31/2007
 59930150302   CLOTRIMAZOLE/BETAMETH CREAM      9/13/1993    3/31/2007
 59930150801   OXAPROZIN 600MG TABLET           9/13/1993    3/31/2007
 59930150802   OXAPROZIN 600MG TABLET           9/13/1993    3/31/2007
 59930151005   ALBUTEROL SULF 2MG/5ML SYRP      9/13/1993    3/31/2007
 59930151504   ALBUTEROL 5MG/ML SOLUTION        9/13/1993    3/31/2007
 59930151701   ALBUTEROL 0.83 MG/ML SOLUTION    9/13/1993    3/31/2007
 59930151702   ALBUTEROL 0.83 MG/ML SOLUTION    9/13/1993    3/31/2007
 59930152001   ALBUTEROL SULFATE 2MG TAB        9/13/1993    3/31/2007
 59930152002   ALBUTEROL SULFATE 2MG TAB        9/13/1993    3/31/2007
 59930153001   ALBUTEROL SULFATE 4MG TAB        9/13/1993    3/31/2007
 59930153002   ALBUTEROL SULFATE 4MG TAB        9/13/1993    3/31/2007
 59930153201   SUCRALFATE 1GM TABLET            9/13/1993    3/31/2007
 59930153202   SUCRALFATE 1GM TABLET            9/13/1993    3/31/2007
 59930154901   ISOSORBIDE MN 60MG TAB SA        9/13/1993    3/31/2007
 59930156001   ALBUTEROL 90MCG INHALER          9/13/1993    3/31/2007
 59930156002   ALBUTEROL 90MCG INH REFILL       9/13/1993    3/31/2007
 59930157001   CLOTRIMAZOLE 1% CREAM            9/13/1993    3/31/2007
 59930157002   CLOTRIMAZOLE 1% CREAM            9/13/1993    3/31/2007
 59930157003   CLOTRIMAZOLE 1% CREAM            9/13/1993    3/31/2007
 59930157009   CLOTRIMAZOLE 1% CREAM            9/13/1993    3/31/2007
 59930157501   BETAMETHASONE DP 0.05% OINT      9/13/1993    3/31/2007
 59930157502   BETAMETHASONE DP 0.05% OINT      9/13/1993    3/31/2007
 59930157503   BETAMETHASONE DP 0.05% OINT      9/13/1993    3/31/2007
 59930158701   ISOSORBIDE MN 120MG TAB SA       9/13/1993    3/31/2007
 59930160001   PERPHENAZINE 2MG TABLET          9/13/1993    3/31/2007
 59930160201   LABETALOL HCL 100MG TABLET       9/13/1993    3/31/2007
 59930160202   LABETALOL HCL 100MG TABLET       9/13/1993    3/31/2007
 59930160203   LABETALOL HCL 100MG TABLET       9/13/1993    3/31/2007
 59930160301   PERPHENAZINE 4MG TABLET          9/13/1993    3/31/2007
 59930160501   PERPHENAZINE 8MG TABLET          9/13/1993    3/31/2007
 59930160901   SODIUM CHLORIDE 0.9% AMPULE      9/13/1993    3/31/2007
 59930161001   PERPHENAZINE 16MG TABLET         9/13/1993    3/31/2007
 59930162101   GRISEOFULVIN ULTRA 250MG TB      9/13/1993    3/31/2007
 59930162201   GLYBURIDE 2.5MG TABLET           9/13/1993    3/31/2007
 59930162401   GRISEOFULVIN ULTRA 330MG TB      9/13/1993    3/31/2007
 59930163601   LABETALOL HCL 200MG TABLET       9/13/1993    3/31/2007
 59930163602   LABETALOL HCL 200MG TABLET       9/13/1993    3/31/2007
 59930163603   LABETALOL HCL 200MG TABLET       9/13/1993    3/31/2007
 59930163901   GLYBURIDE 5MG TABLET             9/13/1993    3/31/2007
 59930163902   GLYBURIDE 5MG TABLET             9/13/1993    3/31/2007
 59930163903   GLYBURIDE 5MG TABLET             9/13/1993    3/31/2007
 59930164702   ALBUTEROL 5 MG/ML SOLUTION       9/13/1993    3/31/2007
 59930165001   THEOPHYLLINE 100MG TAB SA        9/13/1993    3/31/2007
 59930165301   LABETALOL HCL 300MG TABLET       9/13/1993    3/31/2007
 59930165302   LABETALOL HCL 300MG TABLET       9/13/1993    3/31/2007



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                 Schering/Warrick EPIC Stipulation
                            Exhibit A
                                              EPIC Start   EPIC End
      NDC                     Drug               Date        Date
 59930166001   THEOPHYLLINE 200MG TAB SA       9/13/1993    3/31/2007
 59930166002   THEOPHYLLINE 200MG TAB SA       9/13/1993    3/31/2007
 59930166003   THEOPHYLLINE 200MG TAB SA       9/13/1993    3/31/2007
 59930167001   THEOPHYLLINE 300MG TAB SA       9/13/1993    3/31/2007
 59930167002   THEOPHYLLINE 300MG TAB SA       9/13/1993    3/31/2007
 59930167003   THEOPHYLLINE 300MG TAB SA       9/13/1993    3/31/2007
 59930168001   THEOPHYLLINE 450MG TAB SA       9/13/1993    3/31/2007
 59930171401   POTASSIUM CL 20MEQ TAB SA       9/13/1993    3/31/2007
 59930171402   POTASSIUM CL 20MEQ TAB SA       9/13/1993    3/31/2007
 59930171403   POTASSIUM CL 20MEQ TAB SA       9/13/1993    3/31/2007
 59930171501   POTASSIUM CL 10MEQ TAB SA       9/13/1993    3/31/2007
 59930180201   CIMETIDINE 400MG TABLET         9/13/1993    3/31/2007
 59930180203   CIMETIDINE 400MG TABLET         9/13/1993    3/31/2007




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